                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION
 UNITED STATES OF AMERICA,                                    )
                                                              )
                   Plaintiff,                                 )
                                                              )
 v.                                                           )        No. 10-00244-02-CR-W-DW
                                                              )
 BRADLEY COOK,                                                )
                                                              )
                   Defendant.                                 )
                                                  ORDER

         Before the Court is Magistrate Judge Robert E. Larsen’s Report and Recommendation (Doc.

235) to Deny Defendant Bradley Cook’s (the "Defendant") Motion to Suppress Evidence1 (Doc.

123). After an independent review of the record, the applicable law and the parties’ arguments, the

Court ADOPTS the Magistrate’s Report and Recommendation (Doc. 235). Accordingly, the Court

ORDERS that the Magistrate’s Report and Recommendation be attached to and made a part of this

Order, and DENIES the Defendant’s Motion to Suppress Evidence (Doc. 123).

         IT IS SO ORDERED.




 Date:       June 17, 2013                                               /s/ Dean Whipple
                                                                              Dean Whipple
                                                                       United States District Judge




         1
          As explained by Judge Larsen, although the Defendant’s "motion is entitled ‘Motion to Suppress Evidence
and Statements,’ there is no statement and defendant only seeks to suppress evidence seized pursuant to the search
warrant." Doc. 235, p. 3.




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